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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                                    §
    In re:
                                                                    §   Chapter 11
                                                                    §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                    §   Case No. 19-34054-sgj11
                                                                    §
                                    Reorganized Debtor.
                                                                    §
                                                                    §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                    §
                                                                    §   Adversary Proceeding No.
                                    Plaintiff,
                                                                    §
                                                                    §   21-3005-sgj
    vs.
                                                                    §
                                                                    §
    NEXPOINT ADVISORS, L.P., JAMES DONDERO,
                                                                    §
    NANCY DONDERO, AND THE DUGABOY
                                                                    §
    INVESTMENT TRUST,
                                                                    §
                                                                    §
                                    Defendants.
                                                                    §
                                                                    §




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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        ERRATA TO HIGHLAND’S MEMORANDUM OF LAW IN SUPPORT OF
             OPPOSITION TO MOTION TO DISMISS FIFTH, SIXTH,
                    AND SEVENTH CLAIMS FOR RELIEF

        Highland Capital Management, L.P., the plaintiff in the above-captioned and related

adversary proceedings (the “Adversary Proceedings”) and the reorganized debtor (“Highland” or

the “Debtor”, as may temporally be required) in the above-captioned chapter 11 case (the

“Bankruptcy Case”), hereby submits this Errata to Highland’s Memorandum of Law in Support

of Its Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief (the “Errata”)2

and respectfully states as follows:

        1.       In its Opposition Brief, Highland inadvertently omitted a word from a quote.

Specifically, the Opposition Brief incorrectly states that under the LPA, “the General Partner and

any Affiliate of the General Partner shall receive compensation from the Partnership for services

rendered pursuant to this Agreement or any other agreements unless approved by a Majority

Interest.” (Opposition Brief ¶ 27) (quoting LPA § 3.10). The correct quote is that “the General

Partner and any Affiliate of the General Partner shall receive no compensation from the Partnership

for services rendered pursuant to this Agreement or any other agreements unless approved by a

Majority Interest.” (LPA § 3.10) (emphasis added).

        2.       Accordingly, the quote in the fourth sentence of paragraph 27 shall be deemed

deleted and replaced with the following language: “the General Partner and any Affiliate of the

General Partner shall receive no compensation from the Partnership for services rendered pursuant

to this Agreement or any other agreements unless approved by a Majority Interest.” (LPA § 3.10).




2
  Capitalized terms not otherwise defined herein shall take on the meaning ascribed thereto in Highland’s
Memorandum of Law in Support of Opposition to Motion to Dismiss Fifth, Sixth, and Seventh Claims for Relief
[Docket No. 75] (the “Opposition Brief”).


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 Dated: October 28, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

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